Form ntcdefni (11/2017)
                                   UNITED STATES BANKRUPTCY COURT

                                           Western District of Washington
                                            700 Stewart St, Room 6301
                                                Seattle, WA 98101


In Re:       Collaspe Impossible Inc                                 Case No.: 19−11651−TWD
             Debtor(s).                                              Chapter: 11


                                         NOTICE OF DEFICIENT FILING

                                        FOR NON−INDIVIDUAL DEBTORS



NOTICE IS HEREBY GIVEN TO THE DEBTOR that the above referenced case, filed on May 1, 2019 , contains
one or more filing deficiencies which must be corrected. Failure to file the missing document(s) with the court on
or before the deadline(s) stated below may result in the dismissal of this case without further notice.

Additional information, rules and forms may be obtained from the court's website at www.wawb.uscourts.gov.

DEADLINE TO CORRECT THE FOLLOWING DEFICIENCIES:

None




DEADLINE TO CORRECT THE FOLLOWING DEFICIENCIES:                              May 16, 2019

Summary of Your Assets and Liabilities − Non−Individual
Schedule A/B: Property
Schedule D: Creditors Who Hold Claims Secured by Property
Schedule E/F: Creditors Who Have Unsecured Claims
Schedule G: Executory Contracts and Unexpired Leases
Schedule H: Your Codebtors
Statement of Your Financial Affairs



DATED: May 3, 2019
                                                          Mark L. Hatcher
                                                          Clerk of the Bankruptcy Court


Personal checks tendered for payment of filing fees will not be accepted from Debtor(s). The court also does not
accept credit or debit cards from Debtor(s). Please submit your payment in the form of a cashier's check or money
order made payable to the U.S. Bankruptcy Court.




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